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                   EXHIBIT C
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Highgate
Project Schedule
6/15/2016
                                                                                                            2017                                                                          2018                                                                          2019
                                                               June   July   Aug   Sept   Oct   Nov   Dec    Jan   Feb   Mar   April   May   June   July   Aug   Sept   Oct   Nov   Dec    Jan   Feb   Mar   April   May   June   July   Aug   Sept   Oct   Nov   Dec    Jan   Feb   Mar   April   May June
Phase                                             Duration


Schematic Design

Schematic Design                                  5 Months

Lot Consolidation (survey, land use, etc)         5 Months

Schematic Pricing                                  1 Month

Approvals

1100 Large House Package                          2 Months

Board Review of Large House Application           5.5 Months
                         (including 2 Hearings)
1100 Building Permit Package / Waiting Period      6 Weeks

DOB Review for New Building Permit                 6 Weeks

Design Development

Design Development Renovation Package             3 Months

DD Pricing - Renovation Package                    1 Month

Design Development New Construction               4 Months

DD Pricing - New Construction                      1 Month

Construction Documents

Construction Documents Renovation Package         4 Months

Buy CD Renovation Package                          1 Month

Construction Documents Complete Design            8 Months

Buy CD New Construction                            1 Month

Construction Administration

Contractor Selection                               6 Weeks

Contractor Mobilization                            6 Weeks

Construction Administration                       20 Months
